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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA

                      Plaintiff,

vs.                                                 Criminal No. 05-CR-80955-DT-31
                                                    Honorable Avern Cohn
D-31 RONALD CANYON

                  Defendant.
__________________________________/

               ORDER AUTHORIZING INTERLOCUTORY SALE OF
           ONE 2004 BENTLEY CONTINENTAL VIN: SCBCR63W54C021441

       This matter having come before this Court pursuant to the United States of America’s

motion for order authorizing interlocutory sale of one 2004 Bentley Continental VIN:

SCBCR63W54C021441 and the defendant having failed to file a response, +

       IT IS HEREBY ORDERED THAT:

       One 2004 Bentley Continental VIN: SCBCR63W54C021441 is to be sold and the

proceeds of the sale are to be held by the United States Marshals Service (“USMS”) in escrow

pending the conclusion of the criminal case. The interlocutory sale of the Subject Vehicle should

pay first, from the sale proceeds, the lien of VW Credit Leasing, Inc. Any additional amount is to

be held by the USMS pending final judgment in this case.


                                                    s/Avern Cohn
                                                    HONORABLE AVERN COHN
Dated: May 31, 2007                                 United States District Judge
